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                             IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE NORTHERN DISTRICT OF TEXAS
                                       FORT WORTH DIVISION

      IN RE:                                                   §
                                                               §
      AUTOMOTIVE PARTS                                         §           CASE NO. 21-41655-ELM11
      DISTRIBUTION INTERNATIONAL,                              §
      LLC 1,                                                   §           CHAPTER 11
                                                               §
               DEBTOR


                         FIRST-DAY DECLARATION OF KEVIN O’CONNOR IN
                          SUPPORT OF PETITION AND FIRST-DAY MOTIONS

         I, Kevin O’Connor, state and declare as follows:

         1.       I am over 18 years of age, and if called upon I would competently testify to the matters set

forth herein from my own personal knowledge or from knowledge gathered from others within my review

of relevant documents, or my opinion based upon my experience.

         2.       I am the Chief Executive Officer of Automotive Parts Distribution International, LLC.

(“APDI” or the “Debtor”).

         3.       Based on my personal knowledge of the Debtor, its business operations, history, industry,

and the books and records and based upon information contained therein, I am qualified to give this

declaration (the “First-Day Declaration”) on behalf of the Debtor.

         4.       Some of the information presented below is based upon my knowledge and review of data

regularly compiled by the Debtor in the ordinary course of its business.

         5.       I submit this First-Day Declaration in support of the Voluntary Petition (the “Petition”)

filed herewith, and the following motions (collectively, the “First-Day Motions”). Attached hereto as

Exhibit A is a summary of each First-Day Motion and the relief requested therein, to wit:




1
 The last four digits of the Debtor’s federal tax identification number are 8135. The Debtor’s address is 3000 E. Pioneer Pkwy.,
Arlington, TX 76010.

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               (i)   Emergency Motion for Order (I) Authorizing Debtor to Pay Certain Prepetition
       Employee Wages, Other Compensation and Reimbursable Employee Expenses; (II) Continuing
       Employee Benefits Programs; and (III) Authorizing Financial Institutions to Honor and Process
       Checks and Transfers Related to Such Obligations Pursuant to Sections 105(a), 363(a), and 507(a)
       of the Bankruptcy Code and Bankruptcy Rules 6003 and 6004 (the “Wages Motion”);

              (ii)    Emergency Motion for Entry of an Order (I) Authorizing the Debtor to Continue to
       Operate its Cash Management System, Bank Accounts, and Business Forms and (II) Granting
       Related Relief (the “Cash Management Motion”) and

              (iii) Emergency Motion for Interim and Final Orders: (I) Prohibiting Utilities from
       Altering, Refusing, or Discontinuing Service; (II) Deeming the Utility Companies Adequately
       Assured of Future Performance; and (III) Establishing Procedures for Determining Requests for
       Additional Adequate Assurance (this "Utility Motion").

                                                 I.
                                            BACKGROUND

       6.      On July 12, 2021 (the “Petition Date”), the Debtor filed a voluntary petition for relief

under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”), in this court (the

“Bankruptcy Court”) thereby initiating the above-captioned bankruptcy case (the “Bankruptcy Case”)

and creating its bankruptcy estate (the “Estate”).

       7.      The Debtor continues to operate and to manage its business as “debtor-in-possession”

pursuant to sections 1107 and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed

in the above-captioned bankruptcy case (the “Chapter 11 Case”) pursuant to section 1104 of the

Bankruptcy Code. No official committee of unsecured creditors has been appointed in the Chapter 11

Case at this time.

       A.      Description of the Debtor

       8.      The Debtor is a Delaware limited liability company.

       9.      The Debtor is in the business of purchasing, warehousing, and distributing aftermarket

automotive parts. The Debtor purchases inventory from China, Taiwan and other Asian markets and sells

them on a wholesale basis to retailers in North America.

       10.     The member shares of the Debtor are wholly-owned by Fruitage International Co., Ltd., a

Belize corporation (“Fruitage”). The shares of Fruitage are wholly-owned by Enterex International
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Limited, a corporation and existing under the laws of the Cayman Islands (“Enterex”), and whose shares

are publicly traded on the Taiwan Stock Exchange (TWSE).

       11.      The Debtor employs approximately 28 persons and its offices and warehouse are located

in Arlington, Texas.

       B.       The Debtor’s Prepetition Capital Structure

       12.          As of the Petition Date, on a book value basis, the Debtor owned had approximately $30.0

million in assets which consisted of approximately:

               i.          $2.0 million in cash and cash equivalents;

              ii.          $12.6 million in accounts receivable;

             iii.          $9.3 million of inventory;

             iv.           $2.8 million in property and equipment; and

              v.           $3.3 million of other assets, such as NOL carry forwards related to tax returns.

       13.          As of the Petition Date, the Debtor had approximately $38.5 million of liabilities, which

consisted of approximately:

               i.          $5.2 million of trade accounts payable;

              ii.          $24.1 million of inter-company debt to Debtor’s parent-company, Fruitage

                           International Co., Ltd.;

             iii.          $2.1 million of Customer Program and Marketing Expense;

             iv.           $4.2 million of accrued warranty expense; and

              v.           $2.9 million of other liabilities, such as liabilities associated with Right of Use

                           Assets.

       C.           The Debtor’s Financial Difficulties

       14.          The Debtor’s financial difficulties are threefold. First, the U.S.-imposed tariffs on goods

imported from China result in the inflation in the cost of inventory imported by the Debtor. The Debtor

conducts business in a very price-competitive environment, and the Debtor is simply unable to increase
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its prices to account for the tariff-increased cost of its inventory. Second, the Debtor has over a number

of years incurred a sizable ($24.1M) liability to its parent-company, Fruitage which, in addition to its other

costs and expenses, the Debtor finds increasingly difficult to service. Finally, the Debtor lacks the

liquidity and time to explore sourcing inventory from sources not currently subject to tariffs.

       D.      Sale of Assets and Cessation of Operations

       15.     Under the foregoing circumstances, the Debtor, through its officers and through the efforts

of its parent-company, considered alternatives for the recapitalization of the Debtor’s business but because

the primary cause of its financial challenges (the tariffs) cannot be avoided and cannot be mitigated by

commensurate increases its the prices for its goods, the Debtor has determined that a restructuring or

reorganization is not currently feasible.

       16.     While making every effort to restructure its business, the Debtor was also negotiating with

an unrelated third-party to purchase the Debtor’s assets. The result of these efforts is an Asset Purchase

Agreement between the Debtor and Agility Auto Parts, Inc., a District of Columbia corporation

(“Agility”). The proposed terms for the Debtor’s sale of the Sale Assets are set forth in the Asset Purchase

Agreement, a copy of which will be attached to a so-called “Sale Motion” to be filed within a few days

after the Petition Date, but in essence, the terms are:

               a.      Agility will pay the Debtor $1.5 million in cash;

               b.      Agility will assume certain obligations of the Debtor, including accrued program,

                       marketing and warranty expenses in an amount not to exceed $6.3 million;

               c.      Agility will accept the Debtor’s assignment of the Debtor’s real estate leases and

                       other executory contracts, and pay all cure costs associated with the lease and such

                       contracts; and

               d.      Agility will make good-faith offers to employ the non-officer employees of the

                       Debtor,

in exchange for which the Debtor will sell and transfer to Agility substantially all of the Debtor’s assets.
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       17.     The conditions to Agility’s obligation to close the sale pursuant to the terms set forth in the

APA include: (a) the Debtor’s delivery of an Order of the Bankruptcy Court, entered in the Bankruptcy

Case, approving the APA and the sale, authorizing the Debtor to close the sale, and providing that the

Debtor’s assets shall be transferred to Agility free and clear of all claims, liens and encumbrances, and

interests pursuant to sections 363 and 365 of the Bankruptcy Code; (b) Agility obtaining third-party

financing for the cash component of the purchase price; and (c) the Debtor’s compliance with certain

milestones respecting bankruptcy court approval of the proposed sale.

       18.     The Petition was filed and this case commenced to comply with the foregoing condition.

       19.     It is anticipated that the Debtor may need to borrow funds to continue operations until

closing of the proposed sale. Agility has expressed its interest to lend such funds to the Debtor on a first-

priority secured basis, all of which will be brought before the court by appropriate motion.

       20.     As of the Petition Date, the Debtor has no other known prospective purchasers of its assets.

The universe of suppliers for automotive parts sold at the retail level is fairly small. While competitors

are a natural target for sale efforts, the Debtor’s primary competitors have not been approached for similar

but separate reasons: (a) Competitor A has been solicited by the Debtor’s primary retail customers many

times in recent years to quote competing bids to the customers only to consistently refuse to do so because

of the complexity in doing business with the Debtor’s retail customers; and (b) Competitor B owns retail

locations throughout the country and therefore directly competes with the Debtor’s retail customers. The

Debtor’s customers would not therefore support a sale to, or do business with, Competitor B. Other than

the Debtor’s competitors, the only other known viable purchaser of the Debtor’s assets is a European

company similar to the Debtor which previously purchased a division of Enterex International Limited,

which is the holding company which owns the Debtor’s parent company. This company expressed an

interest in also purchasing the Debtor as part of a much larger transaction but negotiations for the U.S.-

based assets faltered and the Debtor’s assets were left out of the deal. Management of the Company will


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provide information related to the proposed sale to Agility to determine whether the European company

has any current interest in purchasing the Debtor’s assets.

       21.     Upon closing of the proposed sale, the Debtor will cease all business operations.




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                                                II.
                                      THE FIRST DAY MOTIONS

       22.     Contemporaneously herewith, the Debtor has filed the First Day Motions listed above

seeking orders granting various forms of relief intended to stabilize the Debtor’s business operations,

minimize the adverse effects of the commencement of these Chapter 11 Cases and facilitate the efficient

administration of the Chapter 11 Case.

       23.     A summary of the First Day Motions is attached hereto as Exhibit A.

       24.     In connection with the preparation for this Bankruptcy Case, I have reviewed each of the

First Day Motions. I believe that the entry of orders granting the relief requested in these Motions is

critical to the Debtor’s ability to continue in operation, and thus maximize the return to its creditors.

                         [REMAINDER OF PAGE INTENTIONALLY LEFT BLANK]




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                              Exhibit A to First-Day Declaration
                               Summaries of First Day Motions2


      A.    Wages Motion;

      B.    Cash Management Motion; and

      C.    Utility Motion;




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       A.      The Wages Motion

       1.      Through the Emergency Motion for Order (I) Authorizing Debtor to Pay Certain

Prepetition Employee Wages, Other Compensation and Reimbursable Employee Expenses; (II)

Continuing Employee Benefits Programs; and (III) Authorizing Financial Institutions to Honor and

Process Checks and Transfers Related to Such Obligations Pursuant to Sections 105(a), 363(a), and

507(a) of the Bankruptcy Code and Bankruptcy Rules 6003 and 6004 (the "Wages Motion"). The Debtor

requests the entry of interim and final orders, (i) authorizing, but not directing, the Debtor to (a) pay, in

its sole discretion, all obligations incurred under or related to wages, salaries, other compensation, payroll

taxes and deductions, reimbursable employee expenses, payroll benefit providers, employee benefits, and

service fees (collectively, the “Employee Obligations”), and all costs related to the foregoing, and (b)

maintain and continue to honor its practices, programs, and policies in place for its employees, as such

may be modified, amended, or supplemented from time to time in the ordinary course of business, and

(ii) authorizing and directing the Debtor's banks and financial institutions to receive, process, honor, and

pay checks presented for payment and electronic payment requests relating to the Employee Obligations.

The overwhelming majority of such claims would be entitled to priority treatment under section 507 of

the Bankruptcy Code. None of the Debtors’ employees have accrued prepetition wages in excess of the

priority cap established by Bankruptcy Code section 507(a)(4), and the Debtors are not seeking payment

of prepetition amounts in excess of the priority cap.

       2.      As of the Petition Date, the Debtor employs twenty-eight (28) full-time employees (the

“Employees”), who are located in Texas, Pennsylvania, Connecticut, Illinois, Utah, and Canada. Eighteen

(18) of the Employees are salaried Employees, and ten (10) of the Employees are paid hourly. Many of

the Employees have specific skill sets and expertise that are essential to the Debtor's operations. The

Employees are critical to the Debtor's operations, and without which all operations would cease.

Additionally, the Employees responsible for the ongoing business operations, including distribution, field

sales, customer service, purchasing, and other related tasks are equally as important to the business
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operations. The Employees' skills, knowledge and understanding with respect to the Debtor's business

operations, customer relations, and infrastructure are required for the effective sale of the Debtor's

business.

                                         Employee Obligations

       Wages Obligations

       3.      The Debtor typically pays obligations relating to Employee wages and salary on a biweekly

basis. Bi-weekly payroll is processed and funded on every other Friday, and paid on every other Friday

for the preceding two-week period.

       4.      In the ordinary course of business, the Debtor pays its Employees through direct deposit,

by check, or in the case of its single Canadian-based employee, via ADP, LLC (a payroll company)

("ADP"). The Debtor's most recent bi-weekly payroll was funded on July 9, 2021, which covered the

two-week time period ending on July 9, 2021. The Debtor’s next scheduled payroll funding obligation is

scheduled for July 23, 2021, which will cover the two-week time period from July 10, 2021 through July

23, 2021.

       5.      The Debtor estimates that, as of the Petition Date, approximately $7,700.00 in wages and

salaries earned by the Employees prior to the Petition Date have accrued and remain unpaid (collectively,

the “Unpaid Wage Obligations”). Additionally, as certain Employees are paid via check, the Debtor

requests permission to honor Unpaid Wage Obligations for which checks were disbursed to the Employees

but not yet presented to or honored by the relevant bank.

       6.      The Debtor does not believe that the Unpaid Wage Obligations owed to any one employee

exceed the $13,650 priority cap imposed by Section 507(a)(4) of the Bankruptcy Code (the “Priority Wage

Cap”). By the Wages Motion, the Debtor is not seeking to pay any Unpaid Wage Obligations on account

of any prepetition work performed by any Employee in excess of the Priority Wage Cap. The Debtor

seeks authority, but not direction, to pay all Unpaid Wage Obligations to the extent permitted by Section


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507(a)(4) of the Bankruptcy Code and to continue to satisfy all Unpaid Wage Obligations in the ordinary

course of business.

       Payroll Taxes and Deductions

       7.      In various jurisdictions, the Debtor is required by law to withhold amounts from the Unpaid

Wage Obligations related to income taxes, healthcare taxes, and other social welfare benefits, including

Social Security, Medicare taxes, and unemployment insurance (collectively, the “Withholding Taxes”),

and to remit the same and certain other amounts to the appropriate taxing authorities (collectively, the

“Taxing Authorities”) according to schedules established by such Taxing Authorities.

       8.      In certain circumstances, the Debtor is also required to make additional payments from its

own funds in connection with the Withholding Taxes (the “Employer Taxes” and, together with the

Withholding Taxes, the “Payroll Taxes”). As of the Petition Date, the Debtor estimates that it owes

approximately $4,200.00 on account of prepetition Payroll Taxes.

       9.      During each applicable pay period, the Debtor withholds other amounts from certain

Employees’ gross pay, including garnishments, child support, and deductions related to various

Retirement Plans and other Employee Benefits (each hereinafter defined) (collectively, the “Deductions”

and, together with the Payroll Taxes, the “Payroll Taxes and Deductions”). As of the Petition Date, the

Debtor estimates that it owes approximately $1,600.00 on account of prepetition Deductions.

       10.     To the extent any of the Payroll Taxes and Deductions may not have been forwarded to the

appropriate third-party recipients or checks or electronic transfers in respect thereof may not have cleared

prior to the Petition Date, the Debtor seeks authority to remit such Payroll Taxes and Deductions (and to

continue to forward Payroll Taxes and Deductions on a post-petition basis whether or not related to the

prepetition period) to the applicable third-party recipients in the ordinary course of business.

       Reimbursable Expenses

       11.     In the ordinary course of business, the Debtor reimburses certain Employees in accordance

with the Debtor's policies for reasonable, customary, and approved expenses incurred on behalf of the
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Debtor in the scope of such Employees’ employment and service, including travel mileage, hotel rooms,

meals, vehicle, equipment, and business-related telephone charges (collectively, the “Reimbursable

Expenses”).   The Debtor reimburses the Reimbursable Expenses as part of the scheduled payroll

immediately following the Debtor's approval. Because of the irregular nature of requests for Reimbursable

Expenses, it is difficult to determine the amount of Reimbursable Expenses outstanding at any given time.

The Debtor estimates that Reimbursable Expenses average approximately $3,500.00 per month, and

approximately $1,900.00 of Reimbursable Expenses may remain outstanding as of the Petition Date. The

Debtor seeks authority, but not direction, to pay and honor the prepetition Reimbursable Expenses and to

continue to honor the Reimbursable Expense obligations on a post-petition basis in the ordinary course of

business.

       Vacation and Paid Time Off

       12.     The Debtor provides the Employees with paid time off (“PTO”) for vacation, illness, and

other personal leave. Vacation accrues as of January of the current year and the available leave is

dependent upon an Employee’s length of employment (typically (2) two to (3) three weeks). Historically,

the Debtor has paid Employees' accrued but unused PTO upon the termination of employment, but does

not currently seek Court authority for payment of these amounts at this time. It is anticipated that any

potential purchaser of the Debtor's assets will assume the accrued, but unused PTO obligation.

       13.     By the Wages Motion, the Debtor seeks authority to honor its respective vacation and other

leave policies to all Employees in the ordinary course of the Debtor's business, but not pay accrued PTO,

but unused, PTO, to employees ending their employment with the Debtor. The Debtor requests authority

to permit its Employees to use accrued vacation and other leave in accordance with its prepetition policies.

       Benefit Services Providers

       14.     The Debtor engages certain benefit service providers (each, a “Benefit Service Provider”)

to help administer payroll and provide other services. The scope of services provided varies from contract


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to contract, but in each instance, the Debtor pays a fee to the Benefit Service Provider (the “Benefit Service

Provider Fees”).

       15.     As mentioned above, ADP is a Benefit Service Provider which facilitates the

administration of payroll and payment of payroll taxes and deductions for the Debtor's Canadian

employee.

       16.     As of the Petition Date, the Debtor owes approximately $20.00 on account of prepetition

Benefit Service Provider Fees. The Debtor seeks authority to honor the prepetition Benefit Service

Provider Fees and to satisfy all post-petition Benefit Service Provider Fees in the ordinary course of

business.

       Employee Benefit Plans

       17.     The Debtor maintains various employee benefit plans and policies for health care, dental,

disability, life, secondary, accidental death and dismemberment insurance, and other programs

(collectively, and as discussed in more detail below, the “Employee Benefits”). The Employee Benefits

are administered by several different providers (collectively the “Benefits Providers”), depending upon

the benefit.

       18.     As of the Petition Date, the Debtor owes approximately $38,900.00 on account of

prepetition Benefit Service Providers. The Debtor pays a portion of the Employees' Employee Benefit

premiums and the Employees pay the remainder of such amounts as payroll deductions The Debtor seeks

authority to honor the prepetition Benefit Service Provider Fees and to satisfy all post-petition Benefit

Service Providers in the ordinary course of business

       19.     Pursuant to the Wages Motion, the Debtor seeks authority, but not direction, to continue

the Employee Benefits Programs in the ordinary course of business, and to make payments thereunder.

       Retirement Plans

       20.     The Debtor also provides certain eligible Employees with retirement benefits. The Debtor

maintains a retirement savings plan with Ascensus Trust Company for the benefit of all Employees who
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meet the requirements of section 401(k) of the Internal Revenue Code (the “401(k) Plan”). The 401(k)

Plan is a defined contribution 401(k) profit-sharing plan and is compliant with ERISA Section 404(c).

The Debtor matches the Employee's contributions to the 401(k) Plan, up to 2-percent of the Employee's

wages. If the Employee does not contribute 2-percent of their wages to the 401(k), the Debtor matches all

Employee contributions dollar-for-dollar, up to 2-percent. All amounts contributed to the 401(k) Plan are

wired directly from the Debtor to Ascensus Trust Company.

       21.       Employees must make an election to participate in the 401(k) Plan. There are no age or

service requirements for Employees to participate in the 401(k) Plan. As of the Petition Date, the Debtor

estimates that the aggregate amount of unremitted employee and Debtor contributions to the 401(k) Plan

is approximately $5,900.00 (the “Unremitted 401(k) Contributions”). Pursuant to the Wages Motion, the

Debtor seeks authority, but not direction, to pay the Unremitted 401(k) Contributions.

       B.        The Cash Management Motion

       1.        Through the Emergency Motion for Entry of an Order (I) Authorizing the Debtor to

Continue to Operate its Cash Management System, Bank Accounts, and Business Forms and (II) Granting

Related Relief the “Cash Management Motion”), the Debtor seeks interim and final orders authorizing,

but not directing, continued use of the Cash Management System (as hereinafter defined).

       Overview.

       1.        In the ordinary course of business, the Debtor maintains an integrated, centralized cash

management system (the “Cash Management System”) comparable to the cash management systems used

by similarly situated companies to manage the cash of operating units in a cost-effective, efficient manner.

       2.        The Debtor uses the Cash Management System in the ordinary course of business to collect,

transfer, and distribute funds generated from its operations and to facilitate cash monitoring, forecasting,

and reporting.

       3.        The Cash Management System includes a total of four (4) bank accounts. The Cash

Management System is arranged to organize and monitor cash flows across the Debtor’s enterprise and to
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centralize procurement for general administrative and operating expenses. The Debtor estimates that its

cash receipt collections averaged approximately $2 million per month. This amount, however, varies

month to month.

        4.     Given the economic and operational scale of the Debtor’s business, any disruption to the

Cash Management System would have an immediate adverse effect on the Debtor’s business and

operations to the detriment of its estate and numerous stakeholders. Accordingly, to minimize the

disruption caused by this Chapter 11 Case and to maximize the value of the Debtor’s estate, the Debtor

requests authority, but not direction, to continue to utilize its existing Cash Management System during

the pendency of this Chapter 11 Case, subject to the terms described in the Cash Management Motion.

        The Cash Management System.

        5.     The Cash Management System includes a total of four (4) bank accounts

(each a “Bank Account” and collectively, the “Bank Accounts”), each of which is identified on Exhibit A

attached to the Cash Management Motion. The Bank Accounts are located at Truist Bank, the successor-

in-interest   to   Branch    Banking     &    Trust   (BB&T)      and    SunTrust    Bank     (collectively,

the “Cash Management Banks”). As of the Petition Date, the Debtor has approximately $1.9 million in

cash in the Bank Accounts.

        6.     The Debtor pays fees incurred in connection with the Bank Accounts, pursuant to the

relevant agreement between the Debtor and the Cash Management Banks (the “Bank Fees”), to the Cash

Management Banks on a monthly basis. The Bank Fees total approximately $3,000 per month. The

Debtor does not believe that it owes any Bank Fees as of the Petition Date, but in the event such Bank

Fees are owing, the Debtor seeks authority, but not direction, to pay the prepetition Bank Fees and continue

paying the Bank Fees in the ordinary course on a post-petition basis, consistent with historic practice.

        7.     The Debtor uses various pre-printed documents (the “Business Forms”), such as checks,

invoices, and letterhead, in the ordinary course of business. Because the Business Forms were used

prepetition, they do not reference the Debtor's current status as debtor-in-possession. Nonetheless, most
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parties doing business with the Debtor will be aware of the Debtor’s status as debtor-in-possession as a

result of the publicity surrounding this Chapter 11 Case and the notice of commencement served on

parties-in-interest.

        8.       Requiring the Debtor to change existing Business Forms would unnecessarily distract the

Debtor from its restructuring efforts and impose needless expenses on the estate. Thus, the Debtor requests

that it be authorized to use its existing Business Forms without placing a “Debtor-in-Possession” legend

on each, until its existing stock is depleted. Once the Debtor has exhausted its existing stock of checks or

forms, any new check stock or subsequently printed checks or forms will bear the designation “Debtor-

in-Possession” with the case number. To the extent that checks or forms are prepared electronically, the

debtor will add a “Debtor-in-Possession” designation to such checks within fourteen (14) days of the

Petition Date.

        Compliance with Section 345 of the Bankruptcy Code and the U.S. Trustee Guidelines.

        9.       Section 345(a) of the Bankruptcy Code governs a debtor’s cash deposits during a Chapter

11 case and authorizes deposits of money as “will yield the maximum reasonable net return on such

money, taking into account the safety of such deposit or investment.” 11 U.S.C. § 345(a). For deposits

or investments that are not “insured or guaranteed by the United States or by a department, agency, or

instrumentality of the United States or backed by the full faith and credit of the United States,” § 345(b)

of the Bankruptcy Code requires debtors to obtain, from the entity with which the money is deposited, a

bond in favor of the United States and secured by the undertaking of an adequate corporate surety, or “the

deposit of securities of the kind specified in section 9303 of title 31,” unless the court “for cause” orders

otherwise. 11 U.S.C § 345(a)–(b).

        10.      Similarly, the U.S. Trustee’s Guidelines for Chapter 11 Cases (the “U.S. Trustee

Guidelines”) generally require Chapter 11 debtors to, among other things, deposit all estate funds into an

account with an authorized depository that agrees to comply with certain requirements of the Office of the

United States Trustee for the Northern District of Texas (the “U.S. Trustee”).
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         11.      The Debtor will request all of the Cash Management Banks execute a depository agreement

provided by the U.S. Trustee. The Debtor has no reason to believe at this time that its Cash Management

System, as described above, does not comply with § 345 of the Bankruptcy Code. Nevertheless, to the

extent that it may not comply with § 345 or any other requirements of the U.S. Trustee, the Debtor requests

that this Court waive any such noncompliance because modifying the Debtor’s Cash Management System

would impose considerable costs to the Debtor’s estate.

         12.      The Debtor’s business and financial affairs are complex and require the collection,

disbursement, and movement of funds through the Debtor’s multiple Bank Accounts, enforcement of these

provisions of the U.S. Trustee Guidelines during this Chapter 11 Case would severely disrupt the Debtor’s

operations. Accordingly, the Debtor respectfully requests that the Court allow it to operate each of the

Bank Accounts listed on Exhibit A attached to the Cash Motion as they were maintained in the ordinary

course of business before the Petition Date.

         C.       Utilities Motion

         1.       Through the Emergency Motion for Interim and Final Orders: (I) Prohibiting Utilities

from Altering, Refusing, or Discontinuing Service; (II) Deeming the Utility Companies Adequately

Assured of Future Performance; and (III) Establishing Procedures for Determining Requests for

Additional Adequate Assurance (this "Utilities Motion"), the Debtor seeks interim and final orders

prohibiting utilities from altering, refusing, or discontinuing services, deeming such companies adequately

assured of future performance, and establishing certain procedures related to additional adequate

assurance.

         2.       The Debtor receives electricity, power, gas, internet, and telephone (the "Services") from

numerous utilities (the "Providers"). A list identifying the Providers with relevant accounts for these

companies is attached to the Utilities Motion as Exhibit A. 2


2
 The listing of any entity on Exhibit A to the Utilities Motion is not an admission that any listed entity is a utility within the
meaning of Section 366 of the Bankruptcy Code. The Debtor reserves all rights to further address the characterization of any
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         3.       Continued and uninterrupted use of the Services is vital to the Debtor's ability to sustain

its operations during this Chapter 11 Case.

         4.       As described in Exhibit A to the Utilities Motion, as of the Petition Date, the Debtor owes

pre-petition amounts to certain of the Providers, which could not be paid upon the filing of the bankruptcy.

The Debtor intends to remain current on its post-petition obligations to the Providers by paying the

Providers from cash on hand and from post-petition financing, if any. Sufficient amounts will be included

in any budget(s) to pay such amounts on a current basis.

         5.       In light of the severe consequences to the Debtor and its assets if the Services were

interrupted, but recognizing the right of the Services to evaluate the proposed adequate assurance, the

Debtor will attempt to contact each of the Providers to discuss providing adequate assurance prior to a

final hearing on the Utilities Motion.              Consequently, the Debtor requests the Court enter an order

approving and adopting the following procedures (the "Adequate Assurance Procedures"):

                                     i.       As adequate assurance of future payment to each Provider listed in
                                              Exhibit A to the Utilities Motion, the Debtor proposes to pay,
                                              within fifteen (15) days after entry of the order granting the Utilities
                                              Motion, to the extent such payment has not already been made,
                                              each Provider, the amounts on Exhibit A to the Utilities Motion (the
                                              "Deposits"). The specific amount of each deposit is identified in
                                              Exhibit A to the Utilities Motion to the Utilities Motion. Each
                                              Provider will be deemed to have received adequate
                                              assurance of payment, as that term is used in Section 366 of the
                                              Bankruptcy Code;

                                     ii.      In the event certain Services or Providers are inadvertently not
                                              included on the Utility Service List attached to the Utilities Motion,
                                              the Debtor proposes to provide, upon discovery of those
                                              Services or Providers, adequate assurance of future payment to each
                                              of those Providers not already holding a deposit, in an amount
                                              equal to the approximate aggregate cost of two (2) weeks of
                                              service. Each Provider will be deemed to have received adequate


particular entity listed on Exhibit A to the Utilities Motion as a utility company within the meaning of Section 366(a) of the
Bankruptcy Code. The Debtor further reserves all rights to terminate the services of any Provider at any time and to seek an
immediate refund of any utility deposit without effect to any right of setoff or claim asserted by a utility company against it.
The relief requested herein is with respect to all of the Providers and is not limited to only those identified in Exhibit A to the
Utilities Motion.

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                               assurance of payment, as that term is used in Section 366 of the
                               Bankruptcy Code;

                        iii.   A Provider may not alter, discontinue, or refuse further service to
                               the Debtor until and unless the Provider receives authorization
                               from this Court;

                        iv.    If at any time after the Petition Date the Debtor fails to pay a
                               regularly billed utility payment invoiced post-petition by the
                               Providers (a "Post-Petition Utility Payment"), such Provider shall
                               provide the Debtor and its bankruptcy counsel written notice of
                               such failure, outlining the account number for which such post-
                               petition payment is due, as well as the amount of the missed
                               payment. The Debtor shall have ten (10) days to cure such missed
                               payment; and

                        v.     At any time, the Debtor may terminate service from any Provider,
                               such termination being effective immediately upon the Debtor's
                               notice to the Provider. At such time, the Debtor shall not be
                               required to make any further payments to such Provider for any
                               services provided after such termination, and any excess deposit
                               shall be returned within thirty (30) days.




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